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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                        )
                                                )
    v.                                          )
                                                )   Case No.: 22-CR-96 (CKK)
JOAN BELL                                       )
                                                )
          Defendant                             )

         DEFENDANT JOAN BELL’S EMERGENCY MOTION TO PERMIT TRAVEL

   COMES NOW defendant, Joan Bell, through undersigned counsel, and in support of her

Emergency Motion to Permit Travel, states as follows:

   Procedural Background

   Defendant Bell, along with her co-defendants, are charged in a two-count indictment with

Conspiracy Against Rights, in violation of 18 U.S.C. § 241, and violating the Freedom of Access to

Clinic Entrances Act, in violation of 18 U.S.C. §§ 248(a)(1), 2.

          Mrs. Bell’s trial is set to begin on September 6, 2023.

          Her conditions of release include the requirement that she stay out of Washington, D.C.

 except for attendance at court proceedings, meeting with counsel, and required PSA business.

    Request for Relief

    A few hours ago, undersigned counsel received a series of text messages from Mrs. Bell

 informing counsel that she wishes to travel to Washington, D.C. on Wednesday, January 18, 2023,

 and remain in the city until about 2 p.m. on Sunday, January 22, 2023.

    The purpose of the travel is as follows: First, on the evening of Wednesday, January 18, 2023,

 Mrs. Bell and her husband hope to attend a dinner honoring a friend who recently lost her husband.
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Next, Mrs. Bell and her husband would like to check into the Renaissance Hotel on Thursday night,

January 19, 2023, and attend an ecumenical prayer service at Constitution Hall at 7 a.m. on Friday,

January 20, 2023. From there, they would like to go to the March for Life rally, where they plan to

spend the day until they return to their hotel. On Saturday, January 21, 2023, they have meetings

scheduled with government and legal officials who are going to discuss legal efforts to protect the

unborn. Finally, on Sunday morning, they would check out of their hotel and attend a rally and

prayer vigil to honor the Supreme Court Justices who decided the recent Dobbs case.

    They would leave the District of Columbia at 2 p.m. to return to New York (where they moved

following a fire at their house in New Jersey).

    At no time would they go near any abortion clinic or in any way commit any criminal acts,

including any acts of civil disobedience. They simply wish to attend what is the yearly highlight of

the anti-abortion movement, as well as honor their dear friend who lost her husband.

    It is noteworthy that Mrs. Bell has been in compliance with her conditions of release since they

were imposed on April 5, 2022.

    Defense counsel has reached out to the government to ascertain its position on this motion, but

has not yet received a response. However, because of the urgency of the matter, defendant asks this

Court to review this matter as soon as possible so that she and her husband may participate in the

events described in this motion.1




1
 Undersigned counsel is not aware of the reason that defendant informed him of her plans at this point (the day
before their scheduled travel), but he hopes the Court will consider her late request nonetheless.
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                                          Respectfully submitted,


                                          Stephen F. Brennwald
                                          __________________________________
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was sent, by ECF, this 17th day of
January, 2023, to all counsel of record in this case.

                                          Stephen F. Brennwald
                                          __________________________________
                                          Stephen F. Brennwald
